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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
(NORTHERN DIVISION)
---------------------------------------------------------------x
 In the Matter of The Petition of

 GRACE OCEAN PRIVATE LIMITED, as Owner                             Docket No: 1:24-cv-00941
 of the M/V DALI,
                                                                   IN ADMIRALTY
                   And
                                                                   REDACTED DOCUMENT
 SYNERGY MARINE PTE LTD, as Manager of the
 M/V DALI,

 For Exoneration from or Limitation of Liability.
 -------------------------------------------------------------x

CLAIMANTS’ MOTION TO STRIKE THE CONFIDENTIALITY DESIGNATIONS TO
     THE M/V DALI VESSEL EMPLOYEES’ DEPOSITION TRANSCRIPTS

          Claimants, by their undersigned counsel, respectfully submit this Motion, pursuant to Fed.

R. Civ. P. 26, Paragraph 10 of Case Management Order No. 6 (ECF No. 474) and the law of the

case. By this motion, Claimants ask the Court to strike the confidentiality designations made to

eight deposition transcripts of the M/V Dali employees. The broad designations greatly restrict

Claimants’ counsel from their ability to advocate for their clients by making it virtually impossible

to discern what testimony can and cannot be discussed in open court. Further, the designations

require blanket sealing of the vast majority of testimony in this case of immense public interest.

This Court explicitly warned the parties at the outset of this dispute that redactions of documents

“must be narrowly tailored in accordance with the public’s presumptive right of access to judicial

proceedings.” ECF Doc. No. 440 at 7 (citing Doe v. Pub. Citizen, 749 F.3d 246, 256-66 (4th Cir.

2014)).

          Eight Dali crewmembers have been deposed as of May 9.



                                                                        . Following those depositions, their
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personal counsel and counsel for the Vessel Interests (hereinafter collectively “Designating

Parties”), effectively designated the entirety of those deposition transcripts as “confidential.”

According to the Designating Parties, Claimants’ counsel cannot even generally discuss what

occurred during these depositions.

       The Designating Parties, however, are incorrect. Indeed, under the Federal Rules of Civil

Procedure and the existing Case Management Orders that are the law of the case, the mere fact

that a witness

             should not justify the wholesale designation of confidentiality requiring these

transcripts to be sealed from the public record of this litigation. Furthermore, any purported

security interests of the witnesses can be protected by far more narrowly tailored means, i.e.,

redaction of personal identifiers.   Claimants respectfully request that this Court strike the

confidentiality designations of the witnesses except for confidentiality designations relating to

their personal information.

       Respectfully submitted this 19th day of May 2025.

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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
(NORTHERN DIVISION)
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 In the Matter of The Petition of

 GRACE OCEAN PRIVATE LIMITED, as Owner                             Docket No: 1:24-cv-00941
 of the M/V DALI,
                                                                   IN ADMIRALTY
                   And

 SYNERGY MARINE PTE LTD, as Manager of the
 M/V DALI,

 For Exoneration from or Limitation of Liability.
 -------------------------------------------------------------x

    CLAIMANTS’ MEMORANDUM IN SUPPORT OF MOTION TO STRIKE THE
  CONFIDENTIALITY DESIGNATIONS TO THE M/V DALI VESSEL EMPLOYEES’
                     DEPOSITION TRANSCRIPTS




Dated: May 19, 2025




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 2) The Chief Engineer of the M/V Dali. The Chief Engineer’s deposition was

    taken on February 18, 2025. The resulting transcript is 294 pages long. (Exhibit

    3, Chief Engineer Deposition). His counsel designated Page 22 (line 17) to Page

    22 (Line 21) and Page 23 (line 17) through the remaining 271 pages, including

    the index, as confidential under the Court’s protective order. (Exhibit 4, Chief

    Engineer Designations).

 3) The Dali’s Electrician, The Electrician’s deposition was taken on February 26,

    2025. (Exhibit 5, Electrician Deposition). The resulting transcript is 224 pages

    long. His counsel designated, page 14, Line 4 through the remaining 210 pages,

    including the index, as confidential under the Court’s protective order. (Exhibit

    6, Electrician Designations)

 4) The Dali’s Bosun. The Bosun’s deposition was taken on March 10, 2025

    (Exhibit 7, Bosun Deposition). The resulting transcript is 276 pages long. His

    counsel designated, page 15, Line 22 through the remaining 254 pages,

    including the index and all exhibits, as confidential under the Court’s protective

    order. (Exhibit 8, at 2, Remaining Crew Designations).

 5) The Dali’s Second Officer. The Second Officer’s deposition was taken on

    March 11, 2025 (Exhibit 9, Second Officer Deposition). His deposition

    transcript is 342 pages long. His counsel designated, page 16, Line 21 through

    the remaining 326 pages, including the index and all exhibits, as confidential

    under the Court’s protective order. (Ex. 8, at 2).

 6) The Dali’s First Officer. The First Officer’s deposition was taken on March

    12, 2025 (Exhibit 10, First Officer Deposition). His deposition transcript is 341



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           pages long. His counsel designated, page 15, Line 21 through the remaining

           326 pages, including the index and all exhibits, as confidential under the

           Court’s protective order. (Ex. 8, at 2).

       7) The Dali’s Oiler. The Oiler was deposed on March 17, 2025 (hereinafter, the

           “Oiler Deposition,” Exhibit 11). His deposition transcript is 63 pages long. His

           counsel designated, page 28, Line 17 through the remaining 35 pages, including

           the index and all exhibits, as confidential under the Court’s protective order.

       8) The Dali’s Fourth Engineer. The Fourth Engineer’s deposition was taken on

           March 17, 2025 (Exhibit 12, Fourth Engineer Deposition). His deposition

           transcript is 237 pages long. His counsel designated, page 30, Line 10 through

           the remaining 207 pages, including the index and all exhibits, as confidential

           under the Court’s protective order. (Ex. 8, at 2).

       During a meet and confer, Claimants, as Objecting Parties, offered less restrictive

alternatives, such as maintaining the confidentiality of the witness’s names, addresses, personal

identifiers, images, and the video recordings of the depositions. The Designating Parties refused

any compromise and insisted on wholesale confidentiality. This Court has recognized that while

confidentiality interests may be important to the parties and the government, there must be a

balance between those interests and the public’s “presumptive right of access to the judicial

process” that is protected by the First Amendment and common law. This case, and the concerns

raised by the deponents, do not present the “rare exception” that would permit wholesale

confidentiality




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       The confidentiality designations proposed by Designating Parties and Petitioners are

facially overbroad in light of the common law, First Amendment, and this Court’s Orders.

Accordingly, Claimants seek the Court’s ruling striking the wholesale designations of

confidentiality that have been asserted.

I.     BACKGROUND

         A.    The Protective Orders Are the Law of the Case

       Three Case Management Orders and one existing decision are the law of the case and

govern confidential discovery in this matter.

       Case Management Order No 4 (ECF No. 440). The first Case Management Order

concerning confidentiality was in response to a request from the non-party National Transportation

Safety Board (“NTSB”). Claimants’ counsel submitted a Request for Documents to the NTSB

pursuant to 49 C.F.R. § 837. The NTSB agreed to produce certain responsive documents, but only

pursuant to a Protective Order approved and first ordered by this Court. Accordingly, on November

8, 2024, all parties jointly submitted a Proposed Protective Order. The Court approved the

proposed order with some changes and, on November 13, 2024, issued Case Management Order

No. 4 – Protective Order (ECF No. 440) (hereinafter “CMO No. 4”). The Court warned that

redactions of documents “must be narrowly tailored in accordance with the public’s presumptive

right of access to judicial proceedings.” Id. at 7 (citing Doe v. Pub. Citizen, 749 F.3d 246, 256-66

(4th Cir. 2014).

       Case Management Order No. 5 (ECF No. 455). Next, after reviewing CMO No. 4, the

NTSB counsel requested an amendment for language to address additional concerns. As parties to

the litigation, Claimants undertook to coordinate the issuance of Amended Protective Order.

However, the Court denied the Motion to Amend CMO No. 4, without prejudice, on December 3,

2024 (ECF No. 455). In so holding, this Court explained:

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               [T]he Court must balance the parties’ and NTSB’s interests in
               confidentiality against the public’s presumptive right of access to
               the judicial process. This right arises under both the First
               Amendment and the common law, with the First Amendment right
               attaching only to certain categories of documents and the common
               law right applying to all judicial documents. Although different
               standards apply depending on which right is at issue, the result is
               usually the same “the right of public access, whether arising under
               the First Amendment or the common law, may be abrogated only in
               unusual circumstances.”

ECF No. 455 at 1–2 (emphasis added) (citations omitted).

       In accordance with these firmly established principles, this Court refused to assent to “the

wholesale sealing of documents” because that practice “would not adequately protect the public’s

interest in access to this case.” Id. at 3. This Court ended with a warning that “any request for a

protective order that contemplates the wholesale sealing of documents—as opposed to the

application of carefully limited redactions—will likely be denied.” Id. (emphasis added).

       In response to this Court’s Order, the parties made changes to their Motion for an Amended

Protective Order that resulted in a First Amended Protective Order dated January 7, 2025 (Case

Management Order No. 5 or hereafter “CMO No. 5”) (ECF No. 467).

       Case Management Order No. 6 (ECF No. 474). Subsequently, another protective order

was sought to address concerns raised by an additional non-party that was presented with a

subpoena. As a result, on February 3, 2025, this Court issued the most recent Second Amended

Protective Order (Case Management Order No. 6 or hereafter “CMO No. 6”) (ECF No. 474) to

“govern the disclosure, use, and handling by the parties and their respective agents, successors,

and personal representatives of certain information and items produced and received in discovery”

in this case. CMO No. 6 at 1.




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and personal identifiers. The Designating Parties nonetheless refuse any compromise and are

insisting on wholesale confidentiality of anything substantive in the transcripts.

        The Petitioners’ counsel joined in support of their co-counsel under the Joint Defense

Agreement during the meet and confers. The Petitioners have concluded that sealing the record is

also in their best interests.

        Thus, despite a good faith attempt to resolve the disagreement regarding the

appropriateness of the transcript redactions, the designating and objecting parties cannot resolve

the issue. This motion followed.

II.     ARGUMENT

        The Designating Parties’ effort to designate essentially entire transcripts as confidential

harms the Claimants as litigants, violates this Court’s orders, and is an affront to the public’s

presumptive right to access judicial records in this immensely important proceeding.

        A.      The Designations Violate Rule 26 and this Court’s Order

        As noted, the Court has already clarified that the scope of its protective order is no broader

than Rule 26(c) protections. See ECF Doc. No. 467, ¶ 2. Under Rule 26(c), “good cause” is

required for courts to “issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c). Appropriate topics for

confidentiality in the District of Maryland under Rule 26(c) are narrow: they include discrete

materials such as trade secrets, confidential research, development, commercial information, and

sensitive business information. See, e.g., Waterkeeper Alliance, Inc. v. Alan & Kristin Hudson

Farm, 278 F.R.D. 136, 142–43 (D. Md. 2011) (denying motion to seal identities of employees

where company claimed that competitors could use information to “poach” its employees because

company failed to provide any “specific demonstrations of fact” or “concrete examples” of such

conduct by its competitors).

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       To justify confidentiality under Rule 26(c), a designating party must present “‘specific

demonstrations of fact, supported where possible by affidavits and concrete examples, rather than

broad, conclusory allegations of potential harm.’” Waterkeeper Alliance, 278 F.R.D. at 140

(quoting Minogue v. Modell, No. 03-3391, 2011 WL 1308553, *4 (D. Md. 2011)). Unreasonably

high percentages of designated material alone can suggest bad faith by the designator. See e.g.,

THK Am., Inc. v. NSK Co., 157 F.R.D. 637, 645 (N.D. Ill. 1993) (finding a designation of 79% of

produced documents to be “absurdly high”); In re Ullico Inc. Litig., 237 F.R.D. 314, 317-18

(D.D.C. 2006) (noting designation of over 99% of documents as confidential in finding lack of

good faith); Procaps S.A. v. Patheon Inc., No. 12-24356-CIV, 2013 WL 4773433, at *3 (S.D. Fla.

Sept. 4, 2013) (condemning the designation of 35% of discovery confidential); Miller v. Rodriguez,

2018 WL 6416928, at *2, n.2, *4 (D.N.J. Dec. 6, 2018) (criticizing designations of between 60%

and 77% of documents as AEO).

       Here, as shown by the scope of their designations, the Designating Parties fail to articulate

a specific, compelling, and protectible interest under Rule 26 justifying wholesale redaction and

sealing their testimony. Their assertions of harm are too broad and conclusory to satisfy Rule

26(c)’s narrow standard.

            The Designations of the Bosun, First and Second Officers’ Depositions

       The Dali’s Bosun and her First and Second Officers

               argue that their testimony cannot be filed or even publicly discussed to protect

imprecise and uncorroborated security concerns. These designations require redaction and sealing

of testimony regarding basic technical topics




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         ” Ex. 7, at 51:1), answers to rudimentary questions about the authentication of

documents (“

                   Ex. 9, at 144:13) and even mundane banter

Ex. 10, 220:5). These designations make it clear that the witnesses’ counsel spent little to no time

considering their proposed redactions. These limitless designations violate explicit orders from

this Court and Rule 26(c).

       These witnesses only assert that they are potential witnesses in a criminal prosecution, and

therefore, everything they say about this case is protected by Rule 26. However, no evidence has

been presented that the United States Department of Justice (the only entity with a vested interest

in the integrity of the investigation) believes the testimony must be sealed to protect a federal

criminal investigation. And, of course, more narrowly tailored solutions are available to address

any asserted privacy or security concerns.

        No other justifications are presented by the witnesses for the designations. And it is not

Claimants (or the Court’s) burden to justify why thousands of lines of testimony must be secretly

filed in this case. That burden is always on the designating party. ECF No. 474, ¶ 9.

       Unfortunately, however, the enormous practical burdens of over-designation fall solely on

Claimants and this Court. For example, the witnesses’ counsel served a brief one-page letter listing

every page of the disputed transcripts as protected. Now, the Claimants must draft and file

meritless motions to seal, needlessly covering their public filings with heavy redactions. The Court

must also waste its sparse judicial resources considering and ruling on those motions. See Hall v.

Hartzell Engine Techs., LLC, 2020 WL 5545121, at *2 (M.D. Tenn. 2020) (“[W]ere Plaintiffs to




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a




                                                                     . The asserted resulting harms

are too vague and imprecise to justify wholesale sealings of basically every line of testimony in

this case. And far narrower and more reasonable means are available to address the interests

claimed.

       B.      This is a Public Proceeding.

       The Court should not overlook the First Amendment implications of these overly broad

designations. These are not secret proceedings. Blanket confidentiality designations, as this

heavily redacted brief makes clear, inevitably lead to blanket sealing of judicial records. And this

Court has repeatedly admonished the parties that concrete measures must be taken to ensure public

access to this important proceeding. (ECF No. 440 citing Doe, 749 F.3d at 256-66).



                                       the sole remaining issue requiring resolution by the Court,

the clash between the public’s presumptive right of access, ensured by Doe, common law and First

Amendment,




                           And are there no more narrowly tailored alternatives than conducting

secret proceedings?
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         The First Amendment right of access “may be restricted only if closure is ‘necessitated

by a compelling government interest’ and the denial of access is ‘narrowly tailored to serve that

interest.’” Doe, 749 F.3d at 266 (quoting In re Wash. Post Co., 807 F.2d 383, 390 (4th Cir. 1986))

“The party seeking to overcome the presumption bears the burden of showing some significant

interest that outweighs the presumption.” Rushford v. New Yorker Mag., Inc., 846 F.2d 249, 253

(4th Cir. 1988). No such interest is at stake here. The witnesses’ concerns are only stated in

exceedingly vague and imprecise terms. Yet, virtually every line of testimony in this case must be

sealed from public view and, according to the Crewmembers and Petitioners, cannot even be

openly discussed.

       The Designating Parties’ designation of the eight depositions defies this Court’s

declarations and the legal standard for appropriately designating sworn testimony as confidential.

Indeed, the wholesale designation of transcripts as confidential is precisely the opposite of what

this Court and the law demand. See e.g., Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 421 (5th

Cir. 2021). (“To be sure, entrenched litigation practices harden over time, including overbroad

sealing practices that shield judicial records from public view for unconvincing (or unarticulated)

reasons. . . . we urge litigants and our judicial colleagues to zealously guard the public's right of

access to judicial records—their judicial records—so ‘that justice may not be done in a corner.’”).

The redactions are facially overbroad, not narrowly tailored, and fail to account for the public’s

presumptive right of access to judicial proceedings.

       The Designating Parties’ proposed designations of confidentiality are facially overbroad,

considering the commands of the Protective Order, and there is no sufficiently compelling basis



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on which to entirely abrogate the public’s presumptive right of access and litigants’ ability to file

the transcripts. They should be stricken.

III.    CONCLUSION

        WHEREFORE, Claimants respectfully request that this Court strike the confidentiality

designations of the witnesses except as to name, identifying information, and images.



                                              Respectfully submitted,

                                              COZEN O’CONNOR




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Dated: May 19, 2025




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